Case 2:04-cr-20384-SH|\/| Document 73 Filed 05/19/05 Page 1 of 2 Page|D 68

 

    

 

IN THE UNITED sTATES DISTRICT COURT PmEDHH--
FOR THE wEsTERN DISTRICT OF TENNESSEE _JF
wEsTERN DIVISION 95?§¥{9
UNITED sTATEs 0F AMERICA, * §§§§P‘H
beb??@
Plaintiff, *
v. * cR. NO. 04-20334-D
HECTOR POLENDO, JR., *
Defendant. *
0RDER

 

It is hereby Ordered that this Motion to Continue the
Suppression Hearing/Report Date is hereby Granted and a new

suppression hearing/report date is set for the CQSL day cf

____,_.~_

\)\»r\€, , 200§", at \`.30 afm#.-

A .
Thus Ordered thisdhé£_day cf May, 2005 at Memphis,

Tennessee.

UNITED STATES DISTRICT COURT JUDGE

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J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

